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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Parlement Technologies, Inc.

2.   All other names debtor
     used in the last 8 years
                                  f/k/a Parler LLC
     Include any assumed          f/k/a Parler Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  c/o Verdolino & Lowey, P.C.
                                  901 Woodland St., Ste. 104                                      124 Washington Street, Suite 101
                                  Nashville, TN 37206                                             Foxboro, MA 02035
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Davidson                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.parler.com


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    Parlement Technologies, Inc.                                                                  Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  5419

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the                 Chapter 7
     debtor filing?
                                            Chapter 9
     A debtor who is a “small
                                            Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against             Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a            Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known

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Debtor   Parlement Technologies, Inc.                                                              Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds                          Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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                                 RESOLUTIONS OF THE BOARD OF DIRECTORS OF

                                           PARLEMENT TECHNOLOGIES, INC.

                                                      APRIL 12, 2024

                    WHEREAS, the undersigned, representing all of the directors of Parlement Technologies,
            Inc. (the “Company”);

                    WHEREAS, the Board of Directors (the “Board”) of the Company, having considered the
            financial and operational conditions and strategic alternatives of the Company, and having
            reviewed, considered and received the recommendation of senior management to the Company
            and the advice of the Company’s professionals and advisors with respect to the options available
            to the Company under chapter 11, of title 11 of the United States Code (the “Bankruptcy Code”),
            have determined that it is desirable and in the best interests of the Company and its affiliated
            entities, creditors, shareholders, employees, and other interested parties that a petition be filed by
            the Company, seeking relief under the provisions of chapter 11 of the Bankruptcy Code;

                     NOW, THEREFORE, BE IT

                    RESOLVED, that the Company be, and hereby is, authorized and empowered to a file
            petition seeking relief under the provisions of chapter 11 of the Bankruptcy Code, in the United
            States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and to file all
            necessary papers and documents to effectuate and carry out the chapter 11 bankruptcy filing;

                    RESOLVED, that Stephen S. Gray, President, Chief Executive Officer, Treasurer and
            Secretary, and Craig R. Jalbert, Chief Restructuring Officer, for the Company (referred to herein
            as the “Authorized Persons”) hereby are authorized and empowered to (i) execute, verify and file
            on behalf of the Company all documents necessary or appropriate in connection with the filing of
            the Company’s chapter 11 petition, including, without limitation, all petitions, affidavits,
            declarations, schedules, statements of financial affairs, lists, motions, applications, pleadings, and
            other papers or documents in connection with such chapter 11 petition; (ii) take and perform any
            and all actions deemed necessary and proper to obtain such relief as authorized herein and in
            connection with the Company’s chapter 11 case; (iii) appear as necessary at all bankruptcy
            proceedings on behalf of the Company; (iv) attend and conduct any meeting where necessary in
            order to carry out fully the intent and accomplish the purposes of this resolution adopted herein;
            and (v) pay all such expenses where necessary or appropriate in order to carry out fully the intent
            and accomplish the purposes of the resolutions adopted herein;

                   RESOLVED, that the law firm of Bielli & Klauder, LLC, be and hereby is employed as
            attorneys for the Company in the chapter 11 case and is authorized to perform all legal services
            necessary appropriate to effectuate the Company’s chapter 11 case;

                   RESOLVED, that the Authorized Persons be, and hereby are, authorized and empowered
            to employ and retain all assistance by legal counsel, accountants, financial advisors, restructuring
            advisors, investment bankers, and other professionals, subject to approval by the Bankruptcy
            Court, and to perform any and all further acts and deeds the Authorized Persons deem necessary,


                                                                 1
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            proper, or desirable in furtherance thereof with a view to the successful prosecution of the
            Company’s chapter 11 case;

                    RESOLVED, that any specific resolutions that may be required to have been adopted by
            the Board in connection with the foregoing resolution be, and the same hereby are adopted, and
            that each Authorized Person of the Company be, and hereby is, authorized in the name and on
            behalf of the Company to certify as to the adoption of any and all such resolutions;

                    RESOLVED, that the Authorized Persons be, and they are hereby are, authorized and
            empowered, with the power of delegation, in the name of and on behalf of the Company, to take
            or cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
            and file any and all such instruments as each, in his discretion, may deem necessary or advisable
            to carry out the purpose and intent of the forgoing resolutions; and

                    RESOLVED, that all acts, actions, and transactions taken by the Board or any other
            Authorized Persons taken prior to the date of the foregoing resolutions adopted at this meeting and
            within the authority conferred, are hereby ratified, confirmed, and approved in all respects as the
            act and deed of the Company.

                    IN WITNESS WHEREOF, the undersigned have executed this written consent as of the
            date first above written.

            Board of Directors of Parlement Technologies, Inc.



            Rebekah Mercer




            Stephen S. Gray




                                                                 2
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Fill in this information to identify the case:
Debtor name Parlement Technologies, Inc.
United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
ALPHASTAFF INC                                                                                                                                                   Unknown
1300 Sawgrass
Corporate Parkway
SUITE 220
SUNRISE, FL 33323
AWS                                                 Confidential                                                                                               Unknown
410 Terry Ave North                                 Settlment
Seattle, WA 98109                                   Agreement and
                                                    Release dated
                                                    February 3, 2024
                                                    providing for the
                                                    closure of AWS
                                                    accounts
                                                    xxxxxxxx3740,
                                                    xxxxxxxx2380,
                                                    xxxxxxxx3717
AWS                                                                                                                                                             Unknown
410 Terry Ave North
Seattle, WA 98109
Bailey Blunt                                        Employee Wages            Contingent                                                                          $3,557.69
7600 Cabot Dr Apt#                                  02/19/2024                Unliquidated
1115                                                through                   Disputed
Nashville, TN 37209                                 03/03/2024
CARLSBERG DATA                                                                                                                                                  Unknown
CENTER
1880 CENTURY
PARK EAST
STE 1410
Los Angeles, CA
90067
Cherry Bekaert LLP                                                                                                                                              $91,350.00
Attn: Accounts
Receivable
P.O. Box 25549
Richmond, VA
23260-5500



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Debtor     Parlement Technologies, Inc.                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Clark County                                        Taxes                                                                                                        Unknown
Assessor
500 S. Grand Central
Pkwy.
Las Vegas, NV
89155
E78 Partners, LLC                                                                                                                                             $180,262.92
1301 W. 22nd St.
Suite 410
Oak Brook, IL 60523
Ink Ventures LLC                                    Lease Termination                                                                                           $15,875.15
2222 12th Ave S,                                    Agreement
Suite 300                                           regarding lease
Nashville, TN 37215                                 Agreement dated
                                                    June 30, 2022 as
                                                    assigned
                                                    pursuant to that
                                                    certain Consent to
                                                    Assignmnet and
                                                    Assumption o
John Matze                                                                    Contingent                                                                  $10,000,000.00
C/O PISANELLI                                                                 Unliquidated
BICE PLLC                                                                     Disputed
400 SOUTH 7TH ST
STE 300
Las Vegas, NV
89101
LBMC Technology                                                                                                                                                   $5,487.52
Solutions LLC
PO Box 1869
Brentwood, TN
37024-1869
Lumen                                               Acct 5RNQGF5CC Contingent                                                                                 $200,000.00
Level 3                                                            Unliquidated
Communications                                                     Disputed
LLC
PO Box 910182
Denver, CO
80291-0182
Marbell AG                                                                    Contingent                                                                      $400,000.00
Luzernerstrasse 1                                                             Unliquidated
Rotkreuz 6343                                                                 Disputed
SWITZERLAND
Noah Balch Law                                                                                                                                                  $20,000.00
P.C.
3101 Ocean Park
Blvd Ste 100 PMB
166
Santa Monica, CA
90405




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Parlement Technologies, Inc.                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Premier Productions                                                                                                                                             $32,846.34
LLC
707 Westchester Dr,
Ste 202
High Point, NC
27262
Rachel Colburn                                      Employee Wages            Contingent                                                                          $3,000.00
723 Pres Ronald                                     02/19/2024                Unliquidated
Reagan Wy                                           through                   Disputed
Apt 403                                             03/03/2024
Nashville, TN 37210
Ramp Business                                                                                                                                                         $43.48
Corporation
28 West 23rd Street
Floor 2
New York, NY 10010
State of Delaware                                   Taxes                     Contingent                                                                         Unknown
Division of Revenue                                                           Unliquidated
820 N. French Street                                                          Disputed
Wilmington, DE
19801
Verrill Dana, LLP                                                                                                                                               $14,940.50
One Portland
Square, 10th Floor
Portland, ME
04101-5054
Whitley Penn                                        CPA Firm                                                                                                    $31,370.00
8343 Douglas Ave
suite 400
Dallas, TX 75225




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                  Case 24-10755-CTG
PARLEMENT TECHNOLOGIES,   INC.          Doc 1BLAIR
                                 ALEXANDER      Filed 04/15/24   Page AMERICAN
                                                                      12 of 22 REGISTRY FOR INTEN
                                                                                                L
C/O VERDOLINO & LOWEY, P.C.      10138 FIRE RIDGE COURT              PO BOX 759477
124 WASHINGTON STREET, SUITE 101 LAS VEGAS, NV 89148                 BALTIMORE, MD 21275
FOXBORO, MA 02035
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ATTORNEY NAME                     ALEXANDER RUBIN                    AMOS GWA
BIELLI & KLAUDER                  512 RED BUD ROAD                   1340 TROY STREET
1204 N. KING STREET               CHAPEL HILL, NC 27514              AURORA, CO 80011
WILMINGTON, DE 19801


14 WEST LLC                       ALIX PARTNERS LLP                  AMY PEIKOFF
1701 PEARL STREET #4              909 3RD AVE                        10900 RESEARCH BLVD. 160C, #1
WAUKESHA, WI 53186                NEW YORK, NY 10022                 AUSTIN, TX 78759




500 DESIGNS LLC                   ALMA RISK MANAGEMENT               ANC VILLAGE VIEW LLC
25219 SPECTRUM                    2 EATON GATE                       DBA ANC VILLAGE VIEW LLC
IRVINE, CA 92618                  LONDON                             460 BUSH STREET
                                  UNITED KINGDOM                     SAN FRANCISCO, CA 94108


901 WOODLAND ST TENANT LLC        ALPHASTAFF INC                ANDERSON KILL LLP
901 WOODLAND ST                   1300 SAWGRASS CORPORATE PARKWAY
                                                                1717 PENNSYLVANIA AVE NW SU20
NASHVILLE, TN 37206               SUITE 220                     WASHINGTON, DC 20006
                                  SUNRISE, FL 33323


ADAM TAYLOR                       ALTRUM HONORS                      ANDRAS ANDRII MUNKACSI
100 WALNUT HILL CT.               15 MAIDEN LANE, SUITE 200          MARSZALKOWSKA 111
APEX, NC 27502                    NEW YORK, NY 10038                 WARSZAWA
                                                                     POLAND


AI CORPORATE INTERIORS INC.       AMERICAN CONSERVATION UNION FOUNDATION
                                                                 ANDREW FLESHMAN
3017B 2ND AVENUE SOUTH            1199 N FAIRFAX ST, SUITE 500   9551 CALUMENT COURT
BIRMINGHAM, AL 35233              ALEXANDRIA, VA 22314           BRENTWOOD, TN 37027




ALBERT MUKHUTDINOV                AMERICAN DEFENSE INTERNATIONAL INC.
                                                                  ANDREW SOULSBY
KAZAN 20-115                      1100 NEW YORK AVENUE, NW        HONEYPOTS SOLUTIONS
420124                            WEST TOWER, SUITE 630           6 MONACO STREET
RUSSIAN FEDERATION                WASHINGTON, DC 20005            PARKDALE VIC 3195
                                                                  AUSTRALIA

ALCHEMY DATA CENTER LLC           AMERICAN MEDIA GROUP               ANDY NGO
5955 DE SOTO AVENUE, SUITE 220    1419 E 4TH AVENUE                  6235 SE GRANT STREET
WOODLAND HILLS, CA 91367          TAMPA, FL 33605                    PORTLAND, OR 97215




ALDO VELASCO COVARRUBIAS          AMERICAN NEVADA REALTY LLC         ANNA PAULINA LUNA
PROLONGACION CAVIOTAS #231        DBA AMERICAN NEVADA REALTY LLC     10601 GANDY BLVD N APT 3204
FRACO LOMA BONITA                 2360 CORPORATE CIRCLE #330         ST PETERSBURG, FL 33702
DURANGO DGO CP 34197              HENDERSON, NV 89074
MEXICO
ANTONIO FERNANDES Case 24-10755-CTG
                                BLOOD Doc 1 Filed
                                       SWEAT       04/15/24
                                             AND TEES           Page CENTURYLINK
                                                                     13 of 22
75 TREMONT STREET               900 WIGWAM PKWY SUITE 155           PO BOC 910182
BRAINTREE, MA 02184             HENDERSON, NV 89014                 DENVER, CO 80291-0182




ARELION / FORMERLY TELIA CARRIER BONGINO INC.                       CEREBRAL PARTNERS LLC
2325 DULLES CORNER BLVD # 550    2239 SW MANELE PLACE               688 CARDIUM STREET
HERNDON, VA 20171                PALM CITY, FL 34990                SANIBEL, FL 33957




AT&T                             BRIGITTE SZIVOS                    CESAR PEREZ-ZALDIVAR
PO BOX 5014                      209 HENDERSON ROAD                 1705 MT HOOD ST
CAROL STREAM, IL 60197-5014      PITTSBURGH, PA 15237               LAS VEGAS, NV 89156




ATLASSIAN PTY LTD                BROWN RUDNICK LLP                  CHALMERS & ADAM LLC
LEVEL 6, 341 GEORGE STREET       PO BOX 23079                       5805 STATE BRIDGE RD G77
SYDNEY                           NEW YORK, NY 10087-3079            JOHNS CREEK, GA 30097
NSW 2000
AUSTRALIA

AWS                              BRUCE FEIN                      CHASE CARD SERVICES
410 TERRY AVE NORTH              300 NEW JERSEY AVENUE NW STE 900201 N. WALNUT STREET
SEATTLE, WA 98109                WASHINGTON, DC 20001            DE1-0153
                                                                 WILMINGTON, DE 19801


BAILEY BLUNT                     BRUCE SALTZMAN                     CHASE HAYNES
7600 CABOT DR APT# 1115          1135 DEERFIELD PT                  230 W. MUNROE, SUITE 1920
NASHVILLE, TN 37209              ALPHARETTA, GA 30004               CHICAGO, IL 60607




BARBA CFO                        CALFO EAKES                        CHERRY BEKAERT LLP
200 CENTERVILLE ROAD, UNIT 7     1301 2ND AVE #2800                 ATTN: ACCOUNTS RECEIVABLE
WARWICK, RI 02886                SEATTLE, WA 98101                  P.O. BOX 25549
                                                                    RICHMOND, VA 23260-5500


BENJAMAIN JOHNSON                CAPITAL HQ LLC                     CHRISTINA MILLER
DBA BENNY LLC                    320 EAST 58TH STREET, APT 2B       17170 HARBOUR POINT DRIVE #6
1505 S GEORGIA AVE               NEW YORK, NY 10022                 FORT MEYERS, FL 33908
TAMPA, GA 33629


BEST GUEST MEDIA                 CARLIE SHEA MCMAHON                CIB STUDIOS - CAM BRIONES
PO BOX 3034                      1028 CHERRYBROOK DR                11487 FISHER AVE.
WAYNE, NJ 07474-3034             HARRISONBURG, VA 22802             WARREN, MI 48089




BLAZE MEDIA LLC FKA CRTV LLC       CARLSBERG DATA CENTER            CIRTUAL LLC
8275 S EASTERN AVENUE, STE 200-245 1880 CENTURY PARK EAST           2843 BITTING ROAD
LAS VEGAS, NV 89123                STE 1410                         WINSTON-SALEN, NC 27104
                                   LOS ANGELES, CA 90067
CISION US INC        Case 24-10755-CTG    DocCORPORATION
                                   DATAVAIL   1 Filed 04/15/24 Page DYNASCALE
                                                                    14 of 22     INC
12051 INDIAN CREEK COURT           11800 RIDGE PARKWAY, SUITE 125   2640 MAIN STREET
BELTSVILLE, MD 20705               BROOMFIELD, CO 80021             IRVINE, CA 92614




CLARK COUNTY ASSESSOR            DAVID J. MERRILL, P.C.            E78 PARTNERS, LLC
500 S. GRAND CENTRAL PKWY.       10161 PARK RUN DRIVE, SUITE 150   1301 W. 22ND ST.
LAS VEGAS, NV 89155              LAS VEGAS, NV 89145               SUITE 410
                                                                   OAK BROOK, IL 60523


CLEAR LINK SYSTEMS INC           DELANOYE STRATEGIES LLC           ELECTROLIFT CREATIVE LLC
5211 LINBAR DRIVE SUITE 500      1407 GREEN AVENUE #257            75 WEST STREET, PH B
NASHVILLE, TN 37211              ORANGE, TX 77630                  NEW YORK, NY 10006




COHNREZNICK LLP                  DELL MARKETING LP                 ERIC GAJNAK
14 SYLVAN WAY 3RD FLOOR          500 FIRST AVENUE                  3123 AVALON WAY
PARSIPPANY, NJ 07054             PITTSBURGH, PA 15222              SHREWSBURY, MA 01545




CONVERGENT OUTSOURCING INC       DESIGN BUNNIES INC                EVERYTHING PROMO
PO BOX 9004                      4952 S RAINBOW BLVD # 339         ONE LIBERTY PLAZA
RENTON, WA 98057                 LAS VEGAS, NV 89118               165 BROADWAY, SUITE 2301
                                                                   NEW YORK, NY 10006


COX BUSINESS                     DESIGNERS MANAGEMENT AGENCY       EVON ONUSIC
PO BOX 53262                     68 WHITE STREET 3RD FLOOR         DBA ONUSIC LLC
PHOENIX, AZ 85072-3262           NEW YORK, NY 10013                760 HOMER AVENUE
                                                                   PALO ALTO, CA 94607


CRGO GLOBAL                     DOUG FULLER                        FIGMA INC.
950 PENINSULA CORPORATE CIRCLE SUITE
                                50 MAYNARD
                                     300    ST. APT 135            760 MARKET STREET FLOOR 10
BOCA RATON, FL 33487            ATTLEBORO, MA 02703                SAN FRANCISCO, CA 94102




CSC                              DRAIN THE SWAMP MEDIA LLC         FOR SUCH A TIME AS THIS LLC
P.O. BOX 7410023                 PO BOX 13454                      4834 SMINOLE AVENUE
CHICAGO, IL 60674-5023           4520 W. OAKELLAR AVE              ALEXANDRIA, VA 22312
                                 TAMPA, FL 33611


CT CORPORATION                   DUELLO CREATIVE LLC               FRAGOMEN, DELREY, BERSEN &LO
                                                                                             LL
PO BOX 4349                      5844 FAIRSTONE CT. SE             90 MATAWAN ROAD
CAROL STREAM, IL 60197-4349      SALEM, OR 97306                   PO BOX 2001
                                                                   MATAWAN, NJ 07747


DATADOG INC                      DUSTIN MENA                       FRANK J. KINNEY. III
620 8TH AVE 45 TH FLOOR          1093 SECRETARIAT DRIVE            3550 ROYAL TERN CIRCLE
NEW YORK, NY 10018               MOUNT JULIET, TN 37122            BOYNTON BEACH, FL 33436
GENTRY GEVERS       Case 24-10755-CTG
                                  HARMON Doc 1 Filed 04/15/24
                                           RESEARCH  GROUP, LLCPage INTERNAL
                                                                    15 of 22 REVENUE SERVICE
116718 235TH AVE SE               1050 S MILES COURT                CENTRALIZED INSOLVENCY OPER
ISSAQUAH, WA 98027                ANAHEIM, CA 92808                 PO BOX 7346
                                                                    PHILADELPHIA, PA 19101-7346


GEORGE FARMER                    HEADWATER MEDIA                  IPFS CORPORATION
901 WOODLAND ST., SUITE 104      ARLINGTON, VA 22209              PO BOX 100391
NASHVILLE, TN 37206                                               PASADENA, CA 91189-0391




GHN CONSULTING LLC               HERO BRANDS                      JACKSON LEWIS PC
1010 BRICKELL AVENUE UNIT 4409   100 E PINE STREET STE 110        10701 PARKRIDGE BLVD STE 300
MIAMI, FL 33131                  ORLANDO, FL 32801                RESTON, VA 20191




GIDEON 300 LLC                   HIVE / FORMERLY CASTLE GLOBAL INC
                                                                 JAMES CODY DUMAY
PO BOX 452418                    100 1ST ST                      4916 TRADEWINDS TERRACE
GROVE, OK 74344                  SAN FRANCISCO, CA 94105         FT LAUDERDALE, FL 33312




GODDARD CONSULTING               HOLLAND & HART                   JAMES FAFRENIERE
125 SAGE WAY                     555 17TH STREET, SUITE 3200      2391 GRANNY WRIGHT LANE
NAPA, CA 94559                   DENVOR, CO 80202                 HERMITAGE, TN 37076




GOLUB, LACAPRA, WILSON & DETIBERIIS
                                 IGOR
                                    LLPM. SHALKEVICH              JAMES KARLINSKI JR
2 ROOSEVELT AVENUE               5230 MARGARETS PLACE             3135 S MOJAVE ROAD #209
PORT JEFFERSON STATION, NY 11776 BRENTWOOD, TN 37027              LAS VEGAS, NV 89121




GRANTLEY GODWIN                  IMG.LY GMBH                      JAMIE MCFARLING
6052 ELYSIAN AVENUE              KORTUMSTR. 68                    14897 PARKER RANCH RD
PENSACOLA, FL 32507              44787 BOCHUM                     BISMARCK, ND 58503
                                 GERMANY


GRAVES GARRETT LLC               INCULTURE INC                    JEANETTA STONE
1100 MAIN ST                     DBA FREEMINDS                    223 KILLIAN LOOP
KANSAS CITY, MO 64105            2929 E 12TH STREET               HUTTO, TX 78634
                                 AUSTIN, TX 78702


GREENBERG TRAURIG LLP            INK VENTURES LLC                 JED RUBENFELD
200 PARK AVENUE                  2222 12TH AVE S, SUITE 300       1031 FOREST RD
NEW YORK, NY 10166               NASHVILLE, TN 37215              NEW HAVEN, CT 06515




GTT AMERICAS LLC                 INSPERITY                        JEFFREY WERNICK
7900 TYSONS ONE PL SUITE 1450    19001 CRESCENT SPRINGS DRIVE     354 WESTBOURNE DRIVE
MCLEAN, VA 22102                 CENTER IV                        WEST HOLLYWOOD, CA 90048
                                 KINGWOOD, TX 77339
JESSE R. BENTON      Case 24-10755-CTG
                                   KARINADoc  1 Filed 04/15/24
                                          LYSENKO                Page KLDISCOVERY
                                                                      16 of 22    ONTRACK LLC
4003 WOODSTONE WAY                 UA 64703 KHARKIVS'KS OBLAST       PO BOX 845823
LOUISVILLE, KY 40241               KHARKIV POZDOVZHNYA ST 1          DALLAS, TX 75284
                                   92
                                   UKRAINE

JLK POLITICAL STRATEGIES          KARLI KARANDOS                     KORY HARVEY
PO BOX 14662                      501 NE 31ST APT 3207               459 BEECHWOOD CIRCLE
RICHMONT, VA 23221                MIAMI, FL 33137                    BURNS, TN 37029




JOBOT LLC                         KAROL PYSNIAK                      LAS VEGAS EXPO INC
18575 JAMBOREE RD, SUITE 600      ROGOWSKIEGO 9, APT 78              4075 EAST POST ROAD
IRVINE, CA 92612                  LUBLIN                             LAS VEGAS, NV 89120
                                  POLAND


JOHN M. POSOBIEC III              KAROLIS JURGELEVICIUS              LAURA VIRGINIA FERRY
7711 MOUNT BLANC ROAD             5321 OLD STAGE ROAD                10218 N 3900 W
HANOVER, MD 21076                 ANGIER, NC 27501                   CEDAR HILLS, UT 84062




JOHN MATZE                        KATHERINE N. BROWN                 LAW OFFICE OF ALEX KOZINSKI
C/O PISANELLI BICE PLLC           200 NORTH FAIRFAX STREET, STE 3    33 MARGUERITE DR
400 SOUTH 7TH ST                  ALEXANDRIA, VA 22314               RANCHO PALOS VERDES, CA 9027
STE 300
LAS VEGAS, NV 89101

JON WIERZBOWSKI                   KATHY WEREB                        LAYER CAKE SOCIAL KITCHEN
3003 W BALLAST POINT BLVD         134 WAHIE LN. APT 305              127 3RD AVE S.
TAMPA, FL 33611                   LAHAINA, HI 96761                  NASHVILLE, TN 37201




JONATHAN COSBY                    KATIE MCKERNAN                     LBMC STAFFING SOLUTIONS LLC
505 HAMPTON RIDGE ROAD            2913 LOCKRIDGE RD SW               PO BOX 1869
NORCROSS, GA 30093                ROANOKE, VA 24014                  BRENTWOOD, TN 37024




JOSEPH P MONKS                    KATTEN MUCHIN ROSENMAN LLP         LBMC TECHNOLOGY SOLUTIONSLL
4121 NE 8TH PL                    525 W MONROE STREET                PO BOX 1869
CAPE CORAL, FL 33909              CHICAGO, IL 60661                  BRENTWOOD, TN 37024-1869




JOSHUA LEVINE                     KEMET ELECTRIC LLC                 LEICHTMAN LAW PLLC
88 URBAN CLUB RD                  556 NO EASTERN - STE D-167         228 EAST 45TH STREET, SUITE 6
WAYNE, NJ 07470                   LAS VEGAS, NV 89101                NEW YORK, NY 10017




JULIANNE SHINTO DBA IMPRIMATUR    KENNETH W MAYO                     LOS ANGELES PARTYWORKS IN
269 S. BEVERLY DRIVE #145         98 TROON WAY                       9712 ALPACA STREET
BEVERLY HILLS, CA 90212           AIKEN, SC 29803                    SOUTH EL MONTE, CA 91733
                    Case 24-10755-CTG
LOVITT & TOUCHE - MESH     & MCLENN       Doc 1 Filed 04/15/24 Page MNDTRST
                                                                    17 of 22 INC
PO BOX 741259                       AN
                                    MARIANA
                                       AGENCY
                                            GALVAO DUARTE DUTRA     470 JAMES STREET, STE 11
LOS ANGELES, CA 90074-1259          2714 COUNTY ROAD A14            NEW HAVEN, CT 06513
                                    DECORAH, IA 52101


LUKAS MADON                       MARIO GRILLO                      MORVILLO ABRAMOWITZ GRANDIA
                                                                                             &
                                                                                             A
CYSTERSOW 20E/50                  4966 BROADWAY, APT 35             565 FIFTH AVENUE
KRAKOW 31-553                     NEW YORK, NY 10034                NEW YORK, NY 10017
POLAND


LUMEN                             MARK C BAKER                      NCUBE LIMITED
1025 ELDORADO BLVD                901 SE ALGONQUIAN CT              86-90 PAUL STREET
BROOMFIELD, CO 80021              PRINEVILLE, OR 97754              LONDON, EC2A4NE
                                                                    UNITED KINGDOM


LUMEN                             MARK WILLIAMS                     NEARSHORE TECHNOLOGY COMLL
LEVEL 3 COMMUNICATIONS LLC        19805 BETHPAGE CT                 1353 RIVERSTONE PARKWAY, SU12
PO BOX 910182                     ASHBURN, VA 20147                 CANTON, GA 30114
DENVER, CO 80291-0182


LUMINATE MEDIA INC.               MARSH & MCLENNAN AGENCY LLC       NEVADA DEPT OF TAXATION
68 OLIVE AVENUE                   PO BOX 741259                     1550 COLLEGE PARKWAY, SUITE#1
TORONTO                           LOS ANGELES, CA 90074-1259        CARSON CITY, NV 89706
ON M6G1V1
CANADA

MAIL MONTIOR INC                  MATT FRADD LLC                  NEVADA EMPLOYMENT SECURITD
215 S BROADWAY                    CATHOLIC BOOKING C/O MATT FRADD 2800 E ST LOUIS AVE
SALEM, NH 03079                   1112 WEST LAREDO                LAS VEGAS, NV 89104
                                  AVENUE GILBERT, AZ 85233


MARBELL AG                        MATTHEW MILLER                    NKAUJNAAS KUE
LUZERNERSTRASSE 1                 10138 FIRE RIDGE CT               11632 GALAPAGO COURT
ROTKREUZ 6343                     HENDERSON, NV 89014               NORTHGLENN, CO 80234
SWITZERLAND


MARC A MCINNIS                    MAUREEN SMITH                     NOAH BALCH LAW P.C.
49910 ROSENLUND RD                109 MOSS CREEK DRIVE              3101 OCEAN PARK BLVD STE 10P
                                                                                               16
HANCOCK, MI 49930                 JACKSONVILLE, NC 28540            SANTA MONICA, CA 90405




MARCUM LLP                        MAUREEN STEELE                    NOAH MOSHER
730 THIRD AVENUE                  PO BOX 1097                       101 W 5TH AVE
NEW YORK, NY 10017                CONDON, MT 59826                  COAL VALLEY, IL 61240




MARCUS MONROE                     MINDTRUST LABS                    NOOR AL-ENANEY
303 E. 94TH STREET APT L          470 JAMES STREET STE 11           19 WESTERN BATTERY RD, UNIT29
NEW YORK, NY 10128                NEW HAVEN, CT 06513               TORONTO
                                                                    ON M6K 0E3
                                                                    CANADA
                  Case 24-10755-CTG
NUERA CONSULTING LLC                   Doc 1 LLC
                                ON MESSAGE    Filed 04/15/24   Page PATRYK
                                                                    18 of 22 CIESZKOWSKI
14134 OAKHAM STREET             1025 1ST STREET, SE                 30A HIGH STREET
TAMPA, FL 33626                 WASHINGTON, DC 20003                STEVENAGE SG1 3EJ
                                                                    UNITED KINGDOM


NV ENERGY                         ONE TRUST LLC                     PLANVIEW DELAWARE LLC
P.O. BOX 30073                    1200 ABERNATHY RD NE              12301 RESEARCH BLVD
RENO, NV 89520                    BUILDING 600 SUITE 300            BUILDING 5M SUITE 101
                                  ATLANTA, GA 30328                 AUSTIN, TX 78759


NV ENERGY ACCT # 556              OUTFRONT MEDIA LLC                PM TECH LLC
P.O. BOX 30073                    185 HIGHWAY 46                    5331 NORTHLAND DRIVE
RENO, NV 89520                    FAIRFIELD, NJ 07004               SANDY SPRINGS, GA 30342




NV ENERGY ACCT # 932              PAGER DUTY                        POLITICAL MEDIA INC
P.O. BOX 30073                    600 TOWNSEND ST SUITE 200         1750 TYSONS BLVD, SUITE 1500
RENO, NV 89520                    SAN FRANSCISCO, CA 94103          MCLEAN, VA 22102




OAKS TECHNOLOGY LLC               PAMELA CALAPAI                    PREMIER PGR USA INC
2701 LANDING WAY                  504 CREEKSTONE CT                 7310 MANCHACA ROAD
RALEIGH, NC 27615                 DICKSON, TN 37055                 PO BOX # 152950
                                                                    AUSTIN, TX 78715


ODP BUSINESS SOLUTIONS LLC        PAMELA HAZELTON                   PREMIER PRODUCTIONS LLC
6600 NORTH MILITARY TRAIL         PO BOX 153134                     707 WESTCHESTER DR, STE 202
BOCA RATON, FL 33496              CAPE CORAL, FL 33915              HIGH POINT, NC 27262




OFFPREM TECHNOLOGY LLC            PARLER 2022, INC.                 PREY INC
12175 VISIONARY WAY, SUITE 1020   613 EWING AVENUE                  548 MARKET ST #30152
FISHERS, IN 46038                 SUITE 100D                        SAN FRANCISCO, CA 94104
                                  NASHVILLE, TN 37203


OLEKSII ZAIAKIN                   PATRICIA MENDEZ                   QA MENTOR INC.
MAYAKOUSKOGO ST 29                207 CHURCH ST.                    17112 WANDERING WAVE AVE
KOSTIANTYNIVKA VILLAGE 72364      PO BOX 125                        ATTN: RUSLAN DESYATNIKOV
UKRAINE                           ST. NAZIANZ, WI 54232             BOCA RATON, FL 33496-5624


OLYMPIC INDUSTRIES LLC            PATRICK J. HAYNES III             RACHEL COLBURN
103 AVE DE DIEGO APT 702          230 W. MUNROE, SUITE 1920         723 PRES RONALD REAGAN WY
SAN JUAN, PR 00901                CHICAGO, IL 60607                 APT 403
                                                                    NASHVILLE, TN 37210


OLYMPIC MEDIA LLC.                PATRICK WILLIAMS                  RAMP BUSINESS CORPORATION
1881 N NASH STREET # 2301         3710 EXCHANGE GLENWOOD PLACE      28 WEST 23RD STREET
ARLINGTON, VA 22209               RALEIGH, NC 27012                 FLOOR 2
                                                                    NEW YORK, NY 10010
RAYMOND WONG          Case 24-10755-CTG
                                    ROBINSDoc 1 Filed
                                           KAPLAN LLP 04/15/24     Page SAMUEL
                                                                        19 of 22 LIPOFF (SAM)
5145 GOLF RD.                       800 LASALLE AVENUE STE 2800         2877 PARADISE ROAD, APT 205
MERCED, CA 95340                    MINNEAPOLIS, MN 55402               LAS VEGAS, NV 89109




RB STAFFING LLC                     ROCK CREEK ADVISORS LLC             SANDRA MAYES
2460 HIGHLAND SPRINGS RD            888 17TH STREET NW SUITE 810        6006 SPLITROCK TRAIL
BLAINE, TN 37709                    WASHINGTON, DC 20006                APEX, NC 27539




REBEKAH MERCER                      ROGAN O'HANDLEY                     SCHAERR JAFFE LLP
901 WOODLAND ST., SUITE 104         3306 W. WYOMING CIRCLE              1717 K STREET NW, SUITE 900
NASHVILLE, TN 37206                 TAMPA, FL 33611                     WASHINGTON, DC 20006




RED SPARK STATEGY                   RONALD GILMORE (DOUG GILMORE)       SCYLLADB INC
1922 S POLLARD STREET               4529 HOLSTEIN HILL DR               2445 FABER PLACE, SUITE 200
ARLINGTON, VA 22204                 PEACHTREE CORNERS, GA 30092         PALO ALTO, CA 94303




REDIRON PR                          RONALD POUSSON                      SEABODEN SOFTWARE
DBA REDIRON PR                      104 LOCUST DR                       209 S STEPHANIE ST, B135
43561 MICHIGAN SQUARE               LINCOLN UNIVERSITY, PA 19352        HENDERSON, NV 89012
LEESBURG, VA 20176


REGISTERED AGENT SOLUTIONS INC / RUSSELL
                                  RASI    PERKINS                       SEAN O'DEA
REGISTERED AGENT SOLUTIONS, INC. 675 PRINCETON WAY                      7835 VIA MAZARRON ST.
PO BOX 7410517, DEPT. 5021       ROCKWALL, TX 75087                     LAS VEGAS, NV 89123
CHICAGO, IL 60674-0517


REMOTE DEV FORCE                    RYAN J MATZE                        SECUREDOCS INC
DBA REMOTE DEV FORCE                10583 JOPLIN STREET                 6500 HOLLISTER AVENUE SUITE 11
4952 S RAINBOW BLVD STE 339         COMMERCE CITY, CO 80022             GOLETA, CA 93117
LAS VEGAS, NV 89118


REZA POURMOHAMMADI PC               SAGEMONT REAL ESTATE                SETH DILLON
299 BROADWAY, SUITE 607             2222 12TH AVE S, SUITE 300          901 WOODLAND ST., SUITE 104
NEW YORK, NY 10007                  NASHVILLE, TN 37204                 NASHVILLE, TN 37206




RICK SPARGUR                        SALESFORCE.COM INC                  SHAMIS & GENTILE, P.A.
3131 TRINITY DRIVE                  PO BOX 203141                       14 NE 1ST AVE SUITE 705
COSTA MESA, CA 92626                DALLAS, TX 75320                    MIAMI, FL 33132




ROBERT R STERBA                     SALESLOFT                        SHARIKA SAWER
603 HILLTOP COURT                   1180 W PEACHTREE ST NW SUITE 600 73917 BUENA VISTA DR
KENNEDALE, TX 76060                 ATLANTA, GA 30309                TWENTYNINE PLAMS, CA 92277
SHAWNEE DIGITAL LLCCase 24-10755-CTG    DocOF
                                 SONITROL   1 SOUTHERN
                                                Filed 04/15/24  Page TENANT
                                                           NEVADA    20 of 22 BUILDING GROUP LLC /TB
15 KNOLL RIDGE CT                3520 E CHARLESTON BLVD              2414 CRUZEN ST.
BREWSTER, NY 10509               PO BOX 43052                        NASHVILLE, TN 37211
                                 LAS VEGAS, NV 89104


SHELDON GABRIEL                   SOROKAC LAW OFFICE PLLC          TENNESSEE DEPARTMENT OF LA
                                                                                            W
814 E 160TH PLACE                 8965 SOUTH EASTERN AVENUE, SUITE 220
                                                                   382 FRENCH LANDING DR
SOUTH HOLLAND, IL 60473           LAS VEGAS, NV 89123              NASHVILLE, TN 37243




SHIRLEY AND MCVICKER              SPARKLETTS & SIERRA SPRINGS        TENNESSEE SECRETARY OF ST
DBA SHIRLEY AND MCVICKER          PO BOX 660579                      312 ROSA L. PARKS AVENUE
1225 KING STREET SUITE 300        DALLAS, TX 75266                   7TH FLOOR
ALEXANDRIA, VA 22314                                                 NASHVILLE, TN 37243-1102


SHOOBX INC.                       STATE OF DELAWARE                  TENNESSEE STATE REVENUE
292 NEWBURY STREET #322           DIVISION OF REVENUE                TENNESSEE DEPARTMENT OF RE
BOSTON, MA 02115                  820 N. FRENCH STREET               ANDREW JACKSON BUILDING
                                  WILMINGTON, DE 19801               500 DEADERICK STREET
                                                                     NASHVILLE, TN 37242

SIERRA HEALTH & LIFE INC CO       STEPHANIE NASH                     TEYA TIETJE
2720 N TENAYA WY                  3983 HWY 41A N                     542 TRUFFLES STREET
LAS VEGAS, NV 89128               CHAPEL HILL, TN 37034              HENDERSON, NV 89015




SIGNS FIRST                       STEPHEN GERBER                     THE BABYLON BEE LLC
2461 BRANSFORD AVE.               3945 SENDERO DR.                   311 W INDIANTOWN ROAD SUITE20
NASHVILLE, TN 37204               AUSTIN, TX 78735                   JUPITER, FL 33458




SIKYUNG CHUNG                     STIMULUS TECHNOLOGIES              THE BLACK VAULT
9634 EMERAUDE AVE                 DBA STIMULUS TECHNOLOGIES          27305 W LIVE OAK BLVD. SUITE 12
LASVEGAS, NY 89147                PO BOX 50563                       CASTAIC, CA 91384
                                  HENDERSON, NV 89016


SKYSILK                           STITES & HARBISON PLLC             THE CAPITAL CLUB
21601 DEVONSHIRE STREET UNITE 116 401 COMMERCE STREET SUITE 800      THE CAPITAL CLUB
CHATSWORTH, CA 91311              NASHVILLE, TN 37219                300 FIRST STREET DE
                                                                     WASHINGTON, DC 20003


SNELL & WILMER                    STRATEGIC RUSH LLC                 THE EWING SCHOOL
1 EAST WASHINGTON ST SUITE 2700   4428 TANEY AVUE #402               3916 N POTSDAM AVE #2614
PHOENIX, AZ 85004                 ALEXANDRIA, VA 22304               SIOUX FALLS, SD 57104




SNOWDOZER LLC                     SWITCH LTD                         THE LAST AMERICAN VAGABOND
10138 FIRE RIDGE CT               PO BOX 400850                      1113 MURFREESBORO RD STE10
LAS VEGAS, NV 89148               LAS VEGAS, NV 89140                FRANKLIN, TN 37064
THE LINCOLN NATIONALCase  24-10755-CTG
                       LIFE INSURANCE  CO Doc 1
                                   UPCHURCH     Filed 04/15/24
                                              WATSON           Page
                                                      WHITE & MAX   21 of 22 -USA LLC
                                                                  MEDIATION
                                                                    WILLDOM
PO BOX 0821                        1400 HAND AVENUE, SUITE D        6303 BLUE LAGOON DR
CAROL STREAM, IL 60132             ORMOND BEACH, FL 32174           MIAMI, FL 33126




THE PINK CONSERVATIVE            UPS                               WILLIAM DOYLE
315 WEST POPLAR STREET           PO BOX 650116                     501 SWIGHT ST #2
STOCKTON, CA 95203-2516          DALLAS, TX 75265-0116             COUDERSPORT, PA 16915




THEO MILO PHOTOGRAPHY            VENABLE LLP                       WILSON SONSINI GOODRICH & R
28 K ST SE #324                  750 E. PRATT STREET, SUITE 900    650 PAGE MILL ROAD
WASHINGTON, DC 20003             ATTN: CASH OPERATIONS             PALO ALTO, CA 94304-1050
                                 BALTIMORE, MD 21202


THURSTON FUND III, LP               VERRILL DANA, LLP               WORDPRESS PLUGIN
230 W. MUNROE, SUITE 1920           ONE PORTLAND SQUARE, 10TH FLOOR DBA WORDPRESS PLUGIN
ATT. PATRICK J. HAYNES III, MANAGER PORTLAND, ME 04101-5054         5321 OLD STAGE ROAD
CHICAGO, IL 60607                                                   ANGIER, NC 27501


TIAGO HENRIQUES                  VINH VUONG                        WORKABLE INC
299 ASHBY ROAD                   4200 PARADISE ROAD                99 HIGH STREET 26TH FLOOR
SYDNEY                           APT 2110                          BOSTON, MA 02110
NOVA SCOTIA B1P 2T5              LAS VEGAS, NV 89169
CANADA

TIMOTHY EDWARD YOUNG             VINSON & ELKINS LLP               X STRATEGIES, LLC
210 M STREET SW                  1001 FANNIN SUITE 2300            DEREK EDWARD UTLEY
WASHINGTON, DC 20024             HOUSTON, TX 77002-6760            250 E WISCONSIN AVENUE, 18 F
                                                                   MILWAUKEE, WI 53202


TOWER59 LLC                      VLADSLAV VCHERASHNII              XAVIAER DUROUSSEAU
8342 BRIDLEWOOD CT               7724 N HOUSTON PEAK ST            4750 TASSAJARA ROAD APT5220
CLARKSTON, MI 48348              LAS VEGAS, NV 89166               DUBLIN, CA 94568




TRIBE GLOBAL                     VLADYSLAV KULCHYTSKYY             YAIR NETANYAHU
1809 DESOTO DRIVE                20A NW BLVD #118                  35 AZA
MCKINNEY, TX 75072               HASHUA, NH 03063                  JERUSALEM 92383
                                                                   ISRAEL


TRUMP INTERNATIONAL HOTEL       WESTWOOD ONE                       YAN ZUBRYTSKYI
TRUMP INTERNATIONAL HOTEL WASHINGTON
                                DBA WESTWOOD
                                      DC         ONE               YUVILEINA ST 4, 70411
1100 PENNSYLVANIA AVENUE NW     3544 MOMENTUM PLACE                VOLODYMYIVS'KE
WASHINGTON, DC 20004            CHICAGO, IL 60689-5335             ZAPORIZKA OBL
                                                                   UKRAINE

TWILIO INC                       WHITLEY PENN                      ZACHARY RT BOYD
375 BEALE STREET, SUITE 300      8343 DOUGLAS AVE                  PO BOX 1516
SAN FRANSCISCO, CA 94105         SUITE 400                         HOBOKEN, NJ 07030
                                 DALLAS, TX 75225
ZJ EVENTS LLC       Case 24-10755-CTG   Doc 1   Filed 04/15/24   Page 22 of 22
591 STEWARD AVE STE 520
GARDEN CITY, NY 11530




ZOOMINFO TECHNOLOGIES LLC
805 BROADWAY ST STE 900
VANCOUVER, WA 98660
